                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


GEORGE ZIMMERMAN,

      Plaintiff,                                Case No. 8:20-cv-1077-T-36CPT

v.

PETE BUTTIGIEG and ELIZABETH
WARREN,

      Defendants.


MOTION FOR WILLIAM B. STAFFORD TO APPEAR PRO HAC VICE, CONSENT
   TO DESIGNATION, AND REQUEST TO ELECTRONICALLY RECEIVE
    NOTICES OF ELECTRONIC FILING ON BEHALF OF DEFENDANTS

       Pursuant to Local Rule 2.02, Defendants Pete Buttigieg and Elizabeth Warren

(“Defendants”) respectfully request that the Court enter an order admitting William B.

Stafford to appear pro hac vice as counsel on behalf of Defendants. In support of this

request, Defendants state:

       1.      William B. Stafford is a member of the law firm of Perkins Coie LLP, 1201

Third Avenue, Suite 4900, Seattle, WA 98101-3099, telephone: (206) 359-6217, and email:

bstafford@perkinscoie.com. Mr. Stafford has been engaged along with local counsel, King,

Blackwell, Zehnder & Wermuth, P.A., to represent Defendants in this action.

       2.      Mr. Stafford is an active member in good standing of the Bar of Washington

State. He has never been the subject of any professional disciplinary proceeding.
        3.      Mr. Stafford is currently devoting significant amounts of time to this action

and it is expected that he will continue to participate in all aspects of this case, including the

trial of this matter in the event the case proceeds to trial.

        4.      Mr. Stafford is familiar with and will be governed by the Local Rules of the

Middle District of Florida, including, in particular, Local Rule 2.04, and is also familiar with

and will be governed by Florida’s Rules of Professional Conduct and the other ethical

limitations and requirements governing the professional behavior of the members of The

Florida Bar.

        5.      Mr. Stafford is not a resident of the State of Florida and has not abused the

privilege of special appearance by frequent or regular appearances in separate cases to such a

degree as to constitute the maintenance of a regular practice of law in the State of Florida.

        6.      Pursuant to Local Rule 2.02(a), Frederick S. Wermuth of the law firm of

King, Blackwell, Zehnder & Wermuth, P.A. is a member in good standing of the Bar of this

Court and has consented to his designation as local counsel upon whom all notices and

papers may be served and who will be responsible for the progress of the case, including the

trial in default of the non-resident attorneys appearing on behalf of Defendants.

        7.      Furthermore, Mr. Stafford certifies that he will comply with the fee and email

registration requirements of Local Rule 2.01(d) and that, in connection with the filing of this

motion, he has submitted – or within the next three (3) business days will submit – a




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completed Special Admission Attorney Certification Form 1 and check for the $150.00

Special Admission Fee to the Clerk of the Court.

        8.      Upon admission pro hac vice, Mr. Stafford will obtain a login and password

to participate in the Middle District of Florida’s Case Management/Electronic Case Filing

system (CM/ECF).

        9.      Based on the foregoing, Mr. Stafford should be admitted to appear pro hac

vice as counsel on behalf of Defendants.

        WHEREFORE, Defendants Pete Buttigieg and Elizabeth Warren respectfully

request that the Court enter an order admitting William B. Stafford to appear pro hac vice as

counsel on behalf of Defendants.



                          LOCAL RULE 3.01(g) CERTIFICATION

        Pursuant to Local Rule 3.01(g), undersigned counsel for Defendants conferred in

good faith regarding this request, and Plaintiff’s counsel reported that his client opposes Mr.

Stafford’s pro hac vice entry.


Dated: May 13, 2020                                /s/ Frederick S. Wermuth
                                                   Frederick S. Wermuth
                                                   Florida Bar No.: 0184111
                                                   KING, BLACKWELL, ZEHNDER
                                                     & WERMUTH, P.A.
                                                   P.O. Box 1631
                                                   Orlando, FL 32802-1631
                                                   Telephone: (407) 422-2472
                                                   Facsimile: (407) 648-0161
                                                   fwermuth@kbzwlaw.com

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  A true and correct copy of Mr. Stafford’s completed Special Admission Attorney Certification form is
attached hereto as Exhibit 1.




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                                              BStafford@perkinscoie.com

                                              Counsel for Defendants

                                              *Motion for Admission Pro Hac Vice
                                              Forthcoming


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 13, 2020 I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record.

                                                   /s/ Frederick S. Wermuth
                                                   Frederick S. Wermuth
                                                   Florida Bar No.: 0184111

                                                   Counsel for Defendants




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